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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


KEVIN WUTHERICH,                          )
                                          )
                      Plaintiff,          )     Civil Action No. 18-200
                                          )
               v.                         )     Judge Cathy Bissoon
                                          )     Magistrate Judge Maureen P. Kelly
RICE ENERGY INC,                          )
                                          )
                      Defendant.          )


                                   JUDGMENT ORDER

       FINAL JUDGMENT hereby is entered pursuant to Rule 58 of the Federal Rules of Civil

Procedure. This case has been marked closed.

       IT IS SO ORDERED.



June 8, 2020                                    s\Cathy Bissoon
                                                Cathy Bissoon
                                                United States District Judge
cc (via ECF email notification):

All Counsel of Record
